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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 ROBIN JOACHIM DARTELL, INDIVIDUALLY
 AND ON BEHALF OF ALL OTHERS                                  Civil Action No.: 14-CV-03620
 SIMILARLY SITUATED,                                          (JMV) (JBC)

                Plaintiff,

                vs.

 TIBET PHARMACEUTICALS, INC, HONG YU,                         DECLARATION OF
 TAYLOR Z. GUO, SABRINA Y. REN, WENBO                         HAYDEN ZOU IN FURTHER
 CHEN, YOUHANG PEN, SOLOMON CHEN,                             SUPPORT OF HAYDEN ZOU’S
 ANDERSON & STRUDWICK INCORPORATED,                           MOTION FOR SUMMARY
 STERNE AGEE GROUP, INC., HAYDEN ZOU,                         JUDGMENT PURSUANT TO
 L. MCCARTHY DOWNS III and ACQUAVELLA,                        FEDERAL RULE OF
 CHIARELLI, SHUSTER, BERKOWER & CO.,                          CIVIL  PROCEDURE 56(a)
 LLP,

                Defendants.



        I, HAYDEN ZOU, hereby affirm under penalty of perjury pursuant to 28 U.S.C. § 1746,

 as follows:

        1.      This declaration is respectfully submitted in support of Defendant Hayden Zou’s

 Reply Memorandum of Law in Response to Plaintiffs’ Opposition to and in Further Support of

 Hayden Zou’s Motion for Summary Judgment Pursuant to Federal Rule of Civil Procedure 56(a).

        2.      On March 15, 2011, I received 200,000 shares of pre-IPO Tibet Pharmaceutical

 Inc.’s (“Tibet”) stock directly from Tibet’s transfer agent into a brokerage account that I
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 maintained at Merrill Lynch. A copy of the Merrill Lynch account statement showing the receipt

 of the 200,000 pre-IPO shares is attached hereto as Exhibit 1.

        3.      These 200,000 shares were shares that were delivered to me pursuant to Tibet’s

 prospectus, and were not shares that I purchased in the open market. As Exhibit 1 makes clear

 these shares were “received” into my individual brokerage account and were not part of a

 securities purchase transaction. See Exhibit 1 at 4.

        4.      As Tibet’s prospectus provides, the lock-up period for 9,058,125 shares of Tibet

 ended on April 24, 2011 and non-affiliates of Tibet, like myself, were permitted to sell shares

 “without regard to any manner of sale notice provisions or volume limitations” set forth in Rule

 144. See Declaration of Scott Cargill Dated June 30, 2016 Exhibit 1 at PDF102.

        5.      The 200,000 pre-IPO shares were received by me from Tibet’s transfer agent

 without any restrictions. Thus, upon information and belief, whatever steps, if any, were

 required to be taken to remove any restrictive legends associated with these shares were

 performed by Tibet’s transfer agent.

        6.      After the first lock-up period, beginning in June 2011 and ending in March 2012,

 I sold the entirety of my 200,000 pre-IPO shares of Tibet into the open market.

        7.      At the time I sold my shares they were unrestricted and I was able to effectuate

 sales and transfers of my shares through brokerage accounts that I maintained at Merrill Lynch

 and Interactive Brokers.

        8.      In July 2011, I made a series of purchases of Tibet shares from the open market,

 purchasing a total of 20,300 ordinary commons shares of Tibet.




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        9.      These 20,300 shares, purchased in July 2011, were the only purchase of Tibet

 shares that I made from the open market. A copy of my statements reflecting the purchase of

 these 20,300 shares in the open market is attached hereto as Exhibit 2.

        10.     Aside from the sale of these 20,300 shares, all of the Tibet shares I sold in 2011

 and 2012 constituted pre-IPO shares that I received directly from Tibet’s transfer agent.

        11.     From June 2, 2011 to August 23, 2011, I sold 89,895 pre-IPO shares of Tibet.

        12.     From February 27, 2012 to March 9, 2012, I sold 110,205 pre-IPO shares of Tibet.

        13.     Thus, in total from June 2, 2011 to March 9, 2012, I sold all 200,000 pre-IPO

 shares that I received directly from the transfer agent.

        14.     The following chart summarizes the sales I made of pre-IPO Tibet Stock in 2011:

         Date       Number of Shares                Transaction Type     Brokerage Firm
         6/02/11               1,440                Sell                 Merrill Lynch
         6/03/11                900                 Sell                 Merrill Lynch
         6/06/11               1,700                Sell                 Merrill Lynch
         6/07/11               1,350                Sell                 Merrill Lynch
         6/08/11                900                 Sell                 Merrill Lynch
         6/09/11               1,315                Sell                 Merrill Lynch
         6/10/11               1,100                Sell                 Merrill Lynch
         6/13/11               1,000                Sell                 Merrill Lynch
         6/14/11               1,500                Sell                 Merrill Lynch
         6/15/11               1,300                Sell                 Merrill Lynch
         6/16/11                985                 Sell                 Merrill Lynch
         6/17/11               1,200                Sell                 Merrill Lynch
         6/20/11                600                 Sell                 Merrill Lynch
         6/20/11              10,400                Sell                 Interactive Brokers
         6/21/11                900                 Sell                 Interactive Brokers
         6/23/11                250                 Sell                 Merrill Lynch
         6/23/11               5,000                Sell                 Interactive Brokers
         6/27/11               2,250                Sell                 Interactive Brokers
         6/27/11                600                 Sell                 Merrill Lynch
         6/28/11                100                 Sell                 Merrill Lynch
         6/29/11               3,877                Sell                 Interactive Brokers
         7/01/11              11,400                Sell                 Interactive Brokers
         7/07/11               2,000                Sell                 Interactive Brokers
         7/08/11               4,900                Sell                 Merrill Lynch



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        7/08/11                  6,800            Sell                  Interactive Brokers
        7/11/11                   900             Sell                  Merrill Lynch
        7/13/11                   800             Sell                  Merrill Lynch
        7/14/11                  1,000            Sell                  Merrill Lynch
        7/15/11                   500             Sell                  Merrill Lynch
        7/19/11                   800             Sell                  Merrill Lynch
        7/21/11                   100             Sell                  Merrill Lynch
        7/22/11                  1,300            Sell                  Merrill Lynch
        7/26/11                   800             Sell                  Merrill Lynch
        7/27/11                   400             Sell                  Merrill Lynch
        7/27/11                  3,000            Sell                  Interactive Brokers
        8/2/11                   2,000            Sell                  Merrill Lynch
        8/2/11                   1,000            Sell                  Interactive Brokers
        8/15/11                 12,978            Sell                  Merrill Lynch
        8/16/11                   500             Sell                  Merrill Lynch
        8/22/11                   550             Sell                  Interactive Brokers
        8/23/11                 19,800            Sell                  Interactive Brokers

        July 2011               20,300            Purchases

                    Interactive Brokers Total     66,977
                         Merrill Lynch Total      43,218
                                       Total:     110,195
                         Pre-IPO Shares Sold      89,895
                    Open Market Shares Sold       20,300

 A copy of my Interactive Brokerage and Merrill Lynch account statements showing the sales of

 these 89,895 pre-IPO shares is attached hereto as Exhibit 3.

        15.    The following chart summarizes the sales I made of pre-IPO Tibet Stock in 2012:

        Date        Number of Shares                 Transaction Type   Brokerage Firm
        2/27/12                 9,625                Sell               Interactive Brokers
        2/24/12                14,370                Sell               Interactive Brokers
        2/27/12                41,636                Sell               Interactive Brokers
        2/27/12                17,792                Sell               Interactive Brokers
        3/09/12                26,782                Sell               Merrill Lynch

                      Interactive Brokers Total      83,423
                           Merrill Lynch Total       26,782
                                        Total:       110,205
                          Pre-IPO Shares Sold        110,205
                     Open Market Shares Sold         0



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 A copy of my Interactive Brokerage and Merrill Lynch account statements showing the sales of

 these 110,205 pre-IPO shares is attached hereto as Exhibit 4.



 Dated: September 28, 2016




                                                     Hayden Zou




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